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                                  UNITED STATES DISTRICT COURT
                                 CENTRAL DISTRICT OF CALIFORNIA

                                          CIVIL MINUTES - GENERAL
 Case No.          2:21-cv-04758-JVS (JDEx)                                            Date    April 25, 2022
 Title             Guangzhou Yucheng Trading Co. v. Dbest Products, Inc.


 Present: The                    James V. Selna, U.S. District Court Judge
 Honorable
                         Lisa Bredahl                                                 Sharon Seffens
                         Deputy Clerk                                                 Court Reporter
                Attorneys Present for Plaintiffs:                     Attorneys Present for Defendants:



 Proceedings:           Claim Construction Hearing


      Cause is called for hearing and counsel make their appearances. Counsel submit
on the tentative ruling with a correction as reflected in the notes of the court reporter.




                                                                                                        :       05

                                                               Initials of Preparer           lmb




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